          Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 1 of 12

                                                                               AUGUST 13, 2008




                                  08-80893-Civ-MARRA/JOHNSON




1 of 12
08-80893-Civ-MARRA/JOHNSON
    Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008   Page 2 of 12




2 of 12
08-80893-Civ-MARRA/JOHNSON
    Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008   Page 3 of 12




3 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 4 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 5 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 6 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 7 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 8 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 9 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 10 of 12
Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008 Page 11 of 12
08-80893-Civ-MARRA/JOHNSON
    Case 9:08-cv-80893-KAM Document 1 Entered on FLSD Docket 08/14/2008   Page 12 of 12

                                                                          AUGUST 13, 2008
